Case 1:06-cv-11246-RGS Document 1-3 Filed 07/20/06 Page 1 of 2

phen, ett

;

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor Supplement the filing and service eadinigs-or oF iy idea by law, except as provided
by ioca! rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use oft e Clerk of Court far the purpose of initiating
(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

&J5.44 (Rev. 11/04)

the civil docket sheet.

I. (a) PLAINTIFFS
Rectrix Aerodome Centers, Inc,

DEFENDANTS/i 3 JU D hat
Barnstable Municipal ‘Airport’ ootinissifn, ‘Mibhaet A. Dunning,
Bruce P, Gilmore, Larry F. Wheatley, Mark A. Milne, Quincy Mosby

and Francised Sanchez 51s

(®) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

{@) Attorney's (Firm Name, Address, and Telephone Number)
Lynch, Brewer, Hoffman & Fink, LLP

Steven L. Schreckinger

103 Federal Street, 22nd Floor, Boston, MA 02110

Barnstable

Attorneys (if Knows)

(617) 951-0800

County of Residencesef fi

‘Barnstable

eS PLA

NOTE; IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED,

IL BASIS OF JURISDICTION

(Place a "X“ in One Box Only)

Wi, CITIZENSHIP OF PRINCIPAL PARTIES@ lace an “X" in One Box for Plainaff

(For Diversity Cases Only) and One Box for Defendant}
G1 U.S. Government ® 3 Federal Question PTF DEF PTF DEF
Plaintiff {U.S. Government Not a Party) Citizen of This State Ot © 1 — incomorsted or Principal Place Os 4
of Business In This State
12 U.S. Government 14 Diversity Citizen of Another State lncorporated and Principal Place os

Defendant

{Indicate Citizenship of Parties in Item Tit)

2h

1:2-4-6 BGS >.

IV. NATURE OF SUIT {Place an “X"' in One Box Only)
(CONTRACT

CONTRACT TORTS FORFEITUREPENALTY BANKRUPTCY DINER STATUTES J
C) 110 insurance PERSONAL INJURY PERSONAL INJURY JC) 610 Agriculmre 0 422 Appeal 23 USC 158 {7 400 State Reapportionment
(CI 120 Marine OF 310 Abplane (1 362 Personal injury = |) 620 Other Food & Drag C3 423 Withdrawal CF 410 Antitrust
CT 150 Miller Act OO 315 Aiplane Product Med. Malpractice CJ 625 Drug Related Seizure 28 USC 157 430 Banks end Banking
Gi 140 Negotiable instrument Liability 1 365 Personal injury - of Property 2) USC 88} 1 450 Commerce
OF 150 Recovery of Overpayment [C1 320 Assault, Libel & Product Liability: CY 639 Liquor Laws CJ 460 Deportation
& Enforcement of Judgment Slandex CO 368 Asbestos Personal [| (} 640 BUR, & Truck C) 820 Copyrights $2 470 Racketecr Influenced and
OF 151 Medicare Act £1 336 Federal Employers’ injury Product 7 650 Airline Regs. CT 830 Patent Corrupt Organizations
1 152 Recovery of Defaulted Liability Liability (J 660 Occupational C) 840 Trademark CF 480 Consumes Credit
Student Loans O) 340 Marine PERSONAL PROPERTY Safety/Health O 490 Cable/Sat TV
(Exc), Vetesans) CI 345 Marine Product 1 370 Other Fraud C1690 Qiber CO 810 Selective Service
£7 153 Recavery of Overpayment Liability © 37) Truth in Lending LABOR TA ‘URI CF 850 Securities‘Commodities/
of Veteran's Benefits {1 350 Motor Vehicle OF 380 Other Personal £7 710 Fair Labor Standards O86] HIA (13955) Exchange
0) 460 Stockholders* Suits CJ 385 Motor Vehicle Property Damage Act OF 862 Black Lung (923) 1 875 Customer Challenge
0) 190 Other Contract Product Liability (0 385 Property Damage CF 720 Labor/Mgmt, Relations |) £63 DIWC/DIVAY (405(2)) 12 USC 3410
7 195 Contract Product Liability [0 360 Other Personal Product Liability C} 730 LaborMemtReporting {0 864 SSID Title XV) (890 Other Statutory Actions
C1 196 Franchise injury & Disclosure Act £7 865 RSI (405(g)) }CV 891 Agriculeural Acts
} REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |CT 740 Railway Labor Act FEDERAL TAX SUITS CF so2 8 ic Stabilt Act
CF 210 Land Condemnation O 441 Voting (J $10 Motions to Vacate | C7 790 Other Labor Litigation {£3 870 Taxes (U.S. Plaintiff = {7} 893 Environmental Maters
O) 220 Forectosure } 442 Employment Sentence C1 791 Empl, Ret. Inc. or Defendant} 1 894 Energy Allocation Act
CI 230 Rem Lease & Ejectmem [0 443 Housing/ Habcay Corpus: Security Act CO) 871 IRS—Third Panty 0 895 Freedom of Information
CT 240 Torts to Land Accommodations 1 530 General 26 USE 7609 Act
7) 245 Ton Produc) Liability 444 Welfare (J 535 Death Penalty ©) 900A ppeal of Fee Determination
1 290 All Other Real Property C1 445 Amer. w/Disabilities - {[] 540 Mandamus & Other Under Equal Access
Employment J $50 Civil Rights to Justice
0] 446 Amer. w/Disabilities - {07 555 Prison Condition 950 Constitutionality of
Other State Statutes
0 440 Other Civil Rights
V. ORIGIN (Place an “X" in One Box Only) Transferred fi ap al to District
ransferred from udge from
B! Original M2 Removed from F 3 Remanded from 4 Reinstated or M5 another district 06 Muhidistrict O7 Magistrate
Proceeding State C Cc ourt Appellate Court Reopened (specify) Litigation Judgment
«| Cite the U.S, Civil Statute under which you are filin {De not cite jeiedictonal euatutes unless diversity):
VL CAUSE OF ACTION 18 U.S.C. § 1962: 15 U.S.C §§ 2.15: 42 U.S.C. § 1983
. Brief description of cause: Defendants engaged in illegal scheme fo use their contro} of regional
airport fo prevent olaintff fom competing with the girnort’s monono he sale of jet fuel
VI. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND 5 CHECK YES only if demanded in complaint:
COMPLAINT: UNDER FRCP. 23 JURY DEMAND: Byes No
Vit]. RELATED CASE(S) (See instructions}
ec aS}
IF ANY JUDGE DOCKET NUMBER
DATE 4 SIGNATURE OF ATTORNEY OF RECORD
07/4/2006 Lokbrvien
FOR OFFICE USE ONLY °
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

Case 1:06-cv-11246-RGS Document 1-3 Filed 07/20/06 Page 2 of 2

.o8.

f ‘

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Title of case (name of first party on each side only), - _——~
Rectrix Aerodome Centers, inc. v. Barnstable Municpal Airport Commission

rife 40.1(a}(4}).
h 160, 410, 470, 538, R.23, REGARDLESS OF NATURE OF SUIT.
[| il. 195, 196, 368, 400, 440, 441-446, 540, 550, 855, 625, 710, 720, 730, *Also completa AO 120 or AO 121
740, 790, 791, 820", 830", 840", 850, 890, 892-894, 895, 950. for patent, trademark or copyright cases
] li. 410, 120, 130, 140, 154, 190, 210, 230, 240, 245, 290, 310,
315, 320, 330, 340, 345, 350, 355, 360, 362, 365, 370, 371,
380, 385, 450, 891. ¢ .
f Vv. 220, 422, 423, 430, 460, 490, 490, 510, 620, 6, 50, ceo] 1 2 4 6 .
690, 810, 861-865, 870, 871, 376, 900.
Pio. 450, 152, 153.

Title and number, if any, of related cases. (See local nie 40.1{g)}. if more than one prior related case has been filed In this
district please Indicate the title and number of the first fled case in this court

néa

’ Has a prior action between the same parties and based on the same claim ever been filed in this court?

YES r | NO

Does the complaint {n this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
ves [| NO
ves [ | wo [|

is this case required to be heard and determined by a district court of three judges pursuant to tithe 28 USC §22847

YES [J NO

Do all of the parties In this action, excluding governmental agencies of the united states and the Commonweaith of
Massachusetts ("governmental agencies”), residing in Mazsachusetis reside in the same division? - (See Local Rule 40.4(d)).

YES NO |

H so, Is the U.S.A. of an officer, agent or amployee of the U.S. 4 party?

A. if yes, in which division do all of the non-governmentai partios reshde?
Eastern Division Central Division Cl Western Division [I
8. If na, In which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division {| Central Division I] Western Division [|

if filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (if yes,
submit a separate sheet Identifying the motions)
ves [| no [7]

{PLEASE TYPE OR PRINT)
ATTORNEY'S NAME Steven L. Schreckinger

aDoress Lynch, Brewer, Hoffman & Fink, LLP, 101 Federal Street, 22nd Floor, Boston, MA 02110
TELEPHONE No, (517) 951-0800

{CategoryFoarmarpd - §/2/05)
